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                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                               February 15, 2019
                                                               David J. Bradley, Clerk
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